
14 Mich. App. 235 (1968)
165 N.W.2d 269
PEOPLE
v.
CURLEY
PEOPLE
v.
SHAW
Docket No. 3,553.
Michigan Court of Appeals.
Decided November 25, 1968.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William L. Cahalan, Prosecuting Attorney, Samuel J. Torina, Chief Appellate Lawyer, and Angelo A. Pentolino, Assistant Prosecuting Attorney, for the people.
Marshall C. Hill, for defendants.
*236 PER CURIAM:
Defendants were jointly tried and convicted of first-degree murder[*] by a jury. We find reversible error occurred during the course of the trial as to each of the defendants for the following reasons.
Defendant Shaw was seriously prejudiced by the introduction of evidence of similar robberies committed by him. See People v. Askar (1967), 8 Mich App 95.
Defendant Curley's conviction violated the constitutional mandate of Bruton v. United States (1968), 391 US 123 (88 S Ct 1620, 20 L Ed 2d 476), made retroactive and effective upon the States in Roberts v. Russell (1968), 392 US 293 (88 S Ct 1921, 20 L Ed 2d 1100). Unlike the situation in People v. Shirk (1968), 10 Mich App 121, defense counsel made spontaneous objections to the use of such statement.
Reversed and remanded for new trial.
J.H. GILLIS, P.J., and R.B. BURNS and KELLEY, JJ., concurred.
NOTES
[*]  CL 1948, § 750.316 (Stat Ann 1954 Rev § 28.548).

